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                        EXHIBIT 02
                                        Cease and Desist
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                                                                               EXHIBIT0

Subject: Cease and Desist
From: Heidi Brown <heidimparis@gmail.com>
Date: 24/04/202 4 16:09
To: Arnaud Paris <aparis@sysmicfllms.com>

Arnaud,


You are henceforth prohibited from contacting my place of work, my family members and the
children's school. The contacts you have made with my work, my family and the children's
school over the past week have led me to believe that there is a serious risk to my physical
safety as well as that of my family and the children.



Any further attempts at contacting anyone related to me, my place of work or the children's
school in any manner, including, but not limited to telephone, text message, e-mail, or in-
person will result in the pursuit of criminal remedies to protect myself, my family and the
children.



Specifically, any further phone calls, e-mails or text messages from you, or any person on
your behalf, to threaten me, determine my whereabouts, or gather informatio n about me will
result in the pursuit of a protective order and additional ly will constitute the crime of
telephonic harassment pursuant to Oregon Revised Statute 166.090.



This is your first and final warning to immediately cease and desist. We will report any
continuing threats to the appropriate authorities.



As a reminder, per the attached Judgment, the court orders that I have no duty to provide my
"exact home address, or her home, work, and mobile telephone number to Father, except as
she chooses."



Per the attached judgment, you are not to "receive the benefit of the provisions included in
ORS 107.154 i.e. the rights generally available to noncustodial parents in the State of
Oregon." This means that you no longer have the right "To inspect and receive school
records and to consult with school staff concerning the child s welfare and education, to the
                                                             1

same extent as the custodial parent may inspect and receive such records and consult with
such staff;"



Additionally, per the attached judgment, "Father is restricted from contacting mother by
phone, email or other written communication, or in person unless through a lawyer of this
state unless it is in direct relation to parenting time, or medical, dental orthodontics
insurance, treatment or appointments. Except to exchange the children as set out by the
parenting plan, Father is not allowed to appear without the consent of Mother at Mother's
home, place of work or any other location where Father is aware Mother will be present
unless previously arranged in writing via email with both Father and Mother agreeing."



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Heidi
-Attachments:----------------------------
  SIGNED_Limited_Judgment_Regard ing_Custody_Parenting_Time_And_Child_          8.4 MB
  Support_and_Money_Awards.pdf




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